        Case 2:09-cr-00121-JAM Document 36 Filed 05/17/11 Page 1 of 4


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     CHRISTOPHER WARREN
 6
 7               IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )               NO. CR. S-09-00121-FCD
10                                  )
          PLAINTIFF,                )               STIPULATION AND ORDER
11                                  )               CONTINUING THE STATUS
          v.                        )               CONFERENCE TO MONDAY
12                                  )               SEPTEMBER 26, 2011
     CHRISTOPHER WARREN, et al., )
13                                  )
                                    )
14        DEFENDANTS.               )
     ______________________________ )
15
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorney Mr. Russell L. Carlberg, and the defendant,
18   Christopher Warren, represented by his attorney, Mr. James R. Greiner, hereby agree
19   and stipulate that the current date set for the status conference, Monday, May 23,
20   2011, is can be vacated and can be rescheduled for Monday, September 26, 2011, at
21   10:00 a.m. in Courtroom #2 before the Honorable United States District Court Judge,
22   Frank C. Damrell, Jr..
23         The Court’s courtroom deputy, Ms. Michele Krueger, was contacted to ensure
24   the Court was available and the Court is available on Monday, September 26, 2011.
25         Further, all of the parties, the United States of America and the defendant agree
26   and stipulate that time under the Speedy Trial Act can be excluded under Title 18
27   section 3161(h)(7)(b)(ii) and section 3161(h)(7)(B)(iv), corresponding to Local code
28   T-2 (the complexity of the case) and Local Code T-4 (to allow counsel time to
                                                1
        Case 2:09-cr-00121-JAM Document 36 Filed 05/17/11 Page 2 of 4


 1   prepare) from Monday, May 23, 2011 to through and including Monday, September
 2   26, 2011.
 3                                 STATUS OF DISCOVERY
 4         In October, 2010, defense counsel received approximately 25,000 pages of
 5   discovery from the government. The government has produced an additional 15,000
 6   plus pages of discovery in addition to a mirror image of the lap top seized from the
 7   defendant at the time of arrest.
 8         The defense is in the process of requesting of the Court to have a computer firm
 9   in Seattle, Washington (referred to the defense by the Federal Defenders Office) open
10   up the entire contents of the approximate 16 GB of information produced by the
11   government. The program needed to open the information, neither the Federal
12   Defender’s office nor defense counsel has due to its high cost.
13         The defense is still reviewing the 15,000 plus pages the government has
14   produced, If the Court authorizes the request to allow the Seattle computer firm to
15   open the information on the lap top seized from the defendant at the time of arrest, the
16   defense will need time to review the approximate 16 GB of information.
17         In addition, both sides have begun the process of informally discussing
18   potential settlement of the case.
19         Finally, defense counsel starts a trial on Monday, June 13, 2011.
20               EXCLUSION OF TIME UNDER THE SPEEDY TRIAL ACT
21         The parties agree and stipulate that with the government additional discovery of
22   approximately 15,000 plus pages and if the Court authorizes the request for allowing
23   the Seattle computer firm to open the information contained on the lap top computer
24   that was seized from the defendant at the time of his arrest, containing approximately
25   16 GB of information and with defense counsel scheduled to be in a federal trial on
26   Monday, June 13, 2011, and with the case having already been declared complex by
27   the Court, the interests of justice in granting this reasonable request for a continuance
28   outweighs all other interests in this case for a speedy trial in this case, pursuant to
                                                  2
        Case 2:09-cr-00121-JAM Document 36 Filed 05/17/11 Page 3 of 4


 1   Title 18 section 3161(h)(7)(b)(ii) and section 3161(h)(7)(B)(iv), corresponding to
 2   Local code T-2 (the complexity of the case) and Local Code T-4 (to allow counsel
 3   time to prepare) from Monday, May 23, 2011 to through and including Monday,
 4   September 26, 2011.
 5                                    Respectfully submitted,
 6                                    BENJAMIN WAGNER
                                      UNITED STATES ATTORNEY
 7
                                      /s/ Russell Carlberg by e mail authorization
 8   DATED: 5-16-11                   _____________________________________
                                      Russell L. Carlberg
 9                                    ASSISTANT UNITED STATES ATTORNEY
                                      ATTORNEYS FOR THE PLAINTIFF
10
11
12   DATED: 5-16-11                   /s/ James R. Greiner
                                      ___________________________________
13                                    James R. Greiner
                                      Attorney for Defendant Christopher Warren
14
15                                           ORDER
16         Based upon the representations of counsel, the record in this case, and the
17   agreements and stipulations between all counsel in the case, and that
18         All parties agree and Stipulate that this Court can make the appropriate findings
19   supported by the record in this case that this case is complex pursuant to the Speedy
20   Trial Act, Title 18 U.S.C. section 3161(h)(7)(B)(ii) and local code T-2, which allows
21   the Court to make the finding that this case is so unusual or so complex, due to the
22   nature of the prosecution, and/or the existence of novel questions of fact or law,
23   and/or, the existence of the amount of discovery, that it is unreasonable to expect
24   adequate preparation for pretrial proceedings or the trial itself within the time limits
25   established by the Speedy Trial Act. In addition, the Court can make a finding from
26   the record in this case, that time shall also be excluded under local code T-4, that time
27   is to be excluded for the reasonable time necessary for effective preparation by
28   defense counsel and Title 18 U.S.C. section 3161(h)(7)(B)(iv), of the speedy trial act.
                                                  3
        Case 2:09-cr-00121-JAM Document 36 Filed 05/17/11 Page 4 of 4


 1         Counsel for all parties stipulate that the ends of justice are served by the Court
 2   excluding such time, so that counsel for the defendant may have reasonable time
 3   necessary for effective preparation, taking into account the exercise of due diligence,
 4   18U.S.C. section 3161(h)(7)(B)(iv), and therefore time should be excluded under 18
 5   U.S.C. section 3161(h)(7)(A) and Local Code T-4. Counsel for all parties agree and
 6   stipulate that time under the Speedy Trial Act under both local Codes T-2 and T-4,
 7   has been excluded through the entire case, up to and including Monday, May 23,
 8   2011, and that the ends of justice are served by the Court excluding such time, taking
 9   into consideration the entire case record, the public’s right to a speedy trial, the
10   defendant’s right to both a speedy trial and adequate time for counsel to adequately
11   prepare a complex case due to the amount of discovery and novel questions of both
12   law and facts and the government’s right to a speedy trial.
13         The Status Conference currently set for Monday, May 23, 2011, is vacated,
14   and the new Status Conference is set for Monday, September 26, 2011, with time
15   excluded under the Speedy Trial Act from Monday, May 23, 2011, through to and
16   including Monday, September 26, 2011, for the reasons agreed to and stipulated by
17   the parties and as stated herein.
18
19         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
20
21   DATED: May17, 2011
22
                                            _______________________________________
23                                          FRANK C. DAMRELL, JR.
                                            UNITED STATES DISTRICT JUDGE
24
25
26
27
28

                                                  4
